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       IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA              )
                                      )
       v.                             )    CRIMINAL ACTION NO.
                                      )       2:11cr191-MHT
JEFFERY NOLAN BENNETT                 )           (WO)

                         MEMORANDUM OPINION

       Defendant Jeffery Nolan Bennett pled guilty to count

one of a multi-count indictment, which charged him with

conspiracy (under 28 U.S.C. § 846) to possess with the

intent to distribute 280 grams or more of cocaine base

(commonly known as “crack”) in violation of 21 U.S.C.

§ 841(a)(1).     During his sentencing on October 23, 2012,

this    court   orally   denied    his    motion    to   withdraw        his

previously entered guilty plea.           The court now issues this

opinion more fully explaining its reasoning.

       A defendant may withdraw a plea of guilty after the

plea has been accepted by the court and prior to sentencing

if “the defendant can show a fair and just reason for

requesting the withdrawal.”         Fed. R. Crim. P. 11(d)(2)(B).
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“In determining whether the defendant has met his burden to

show    a   ‘fair    and    just   reason,’    a   district    court     may

consider the totality of the circumstances surrounding the

plea.”      United States v. Brehm, 442 F.3d 1291, 1298 (11th

Cir. 2006) (citation and quotation marks omitted).                        In

addition, “[i]n the course of this inquiry, we consider (1)

whether close assistance of counsel was available; (2)

whether the plea was knowing and voluntary; (3) whether

judicial resources would be conserved; and (4) whether the

government     would       be   prejudiced    if   the   defendant     were

allowed to withdraw his plea.” Id. (citation and quotation

marks omitted).

       In this case, Bennett contended that withdrawal was

warranted because he had been misled by the government as

to the sentence it would recommend to the court.               According

to Bennett, the government had assured him that it would

recommend a sentence reduction pursuant to U.S.S.G. § 5K1.1

and 18 U.S.C. § 3553(e) (both providing for sentencing

reductions      in     exchange      for     defendants’      substantial

assistance to the government) sufficient to result in a

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sentence of between five to seven years of incarceration,

or, at least, some number “well below” 15 years.                       But, the

government ultimately offered a recommendation that, if

adopted     by   the   court,     would    result    in     a    sentence   of

approximately 17 years.               Because of this breach of the

understanding       between     the    government     and       him,   Bennett

contended, he could rescind his guilty plea and proceed to

trial.

      The overwhelming weight of the evidence revealed that

the    government      never   made     the   sort   of   secret       promise

Bennett asserted.            First, based on Bennett’s criminal

history (as represented by the information the government

filed with the court pursuant to 21 U.S.C. § 851), Bennett

was subject to a mandatory-minimum sentence of 20 years.

Although the government’s motion for a reduction pursuant

to 18 U.S.C. § 3553(e) authorized the court to sentence

Bennett below that “mandatory” minimum term (as it is

somewhat misleadingly called in this context), a sentencing

reduction as high as 75 % of the 20-year term (which a

final sentence of five years would have represented) would

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have been extraordinary in light of the facts of this case.*

Cf. United States v. Soto, 216 F. App'x 946, 950 (11th Cir.

2007)   (unpublished)       (“The       court's   departure      from      a

mandatory minimum sentence of 60 months to a sentence of 9

months constitutes an 85 percent reduction.                In light of

the court's acknowledgment that Soto's assistance was ‘de

minimis’ and that Soto did not have the ability or the

knowledge   to    offer   more    assistance      than    he   did,      the

reduction   was    not    reasonable.”).          Second,      the    plea

agreement Bennett signed explicitly addressed the extent of

the government’s substantial-assistance recommendation in

only one part, which stated that the government would move

for a departure “of at least (1) level pursuant to U.S.S.G.

§ 5K1.1.”     Plea Agmt. (Doc. No. 317) at 3.                  The plea

agreement provided no indication of an understanding that

the government would offer anything more.                Moreover, when

Bennett entered his guilty plea, he was asked whether


    * After denying Bennett’s motion to withdraw his
guilty plea, the court proceeded to sentence him.
Bennett received a reduction of approximately 25 % of the
20-year minimum, with his final sentence being 188 months
incarceration (which is between 15 and 16 years).

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“anyone [has] made any promises or assurances of any kind

to get [him] to plead guilty other than those that are in

the Plea Agreement?”        Change of Plea Hr’g Tr. (Doc. No.

448) at 6:3-5. He answered, “No, ma’am.”            Id. at 6:6.      Upon

hearing Bennett’s answer, his attorney did not assert

anything    to   the   contrary    that    Bennett     had   failed      to

mention.    This clear evidence of the absence of a secret

agreement   was   countered      only    by   Bennett’s      mere   later

assertions to the contrary.

    Aside from Bennett’s argument regarding the breached

understanding, Bennett put forth no other reason as to why

he should be permitted to withdraw his guilty plea.                 As the

court found that no such understanding was had, Bennett

plainly did not satisfy his burden of establishing a “fair

and just reason” for withdrawing his guilty plea.                        See

United States v. Buckles, 843 F.2d 469, 471 (11th Cir.

1988) (“The court concluded that Buckles had not presented

any just or fair reason for withdrawing his guilty plea

and, therefore, denied his motion.”).




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       Although the court has now fully explained its reasons

for denying Bennett’s motion to withdraw his guilty plea,

some additional illuminating circumstances in this case

warrant brief discussion.          Those are, if Bennett did not

withdraw his guilty plea and was instead sentenced pursuant

to the plea agreement (which he was), his mandatory-minimum

sentence (prior to an appropriate reduction for assistance

to the government) would have been (and because he was not

permitted to withdraw his guilty plea, actually was) 20

years.    But, if he had withdrawn his guilty plea, proceeded

to trial, and was found guilty, he would have faced a

mandatory-minimum sentence not of 20 years, but rather of

life    imprisonment.       The    controlling      mandatory-minimum

sentence–-whether 20 years, life imprisonment, or something

else--would      have    been,     and     was,     decided      through

prosecutorial discretion exercised by the government, and

this court’s power to differ from the government’s chosen

sentence would have been, and was, very limited.

       Under   statutory    law,    a    defendant     sentenced         for

trafficking certain drugs (including crack) is subject to

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escalating mandatory-minimum sentences of zero, five, ten,

20 years, or life imprisonment, depending on his criminal

history and the quantity of drugs for which he is held

responsible.     See 21 U.S.C. § 841(b); United States v.

Gonzalez, 420 F.3d 111, 121 (2d Cir. 2005) (listing the

conditions     under     which      different       mandatory-minimum

sentences are invoked).        The defendant’s criminal history

is one of the determinative factors in deciding which

mandatory-minimum      term    applies,      and    the   law    affords

prosecutors the discretion to decide the extent to which

that criminal history will be placed before the court.                   See

21 U.S.C. § 851 (“No person who stands convicted of an

offense ... shall be sentenced to increased punishment by

reason of one or more prior convictions, unless ... the

United States attorney files an information with the court

stating in writing the previous convictions to be relied

upon.”).     Therefore, in the case of a defendant with

several prior convictions, the government is essentially

granted sole discretion of choosing whether a mandatory-

minimum sentence of as high as life, or as low as zero or

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five years, is to apply.           And, once the government has made

that determination, the court’s sole power under the law to

sentence    the    defendant       below    the     government’s         chosen

mandatory minimum is under 18 U.S.C. § 3553(e), for the

defendant’s assistance to the government.                         See United

States v. Lamar, 687 F. Supp. 2d 1316 (M.D. Ala. 2009)

(Thompson,       J.).    But    once      again,    the     law    gives   the

government, not the court, the discretion to determine

whether a § 3553(e) reduction may be given.                      See Melendez

v. United States, 518 U.S. 120, 125-26 (1996) (“[Section]

3553(e)     requires     a     Government      motion       requesting       or

authorizing the district court to ‘impose a sentence below

a level established by statute as [a] minimum sentence’

before the court may impose such a sentence.”)

    At     the    end   of   the    day,    the     fate    of    many    drug-

trafficking defendants lies mostly with the government’s

prosecutors and only slightly with the court.                     See United

States v. C.R., 792 F. Supp. 2d 343, 483-86 (E.D.N.Y. 2011)

(Weinstein,       J.)   (discussing        judicial        discontent      over

mandatory-minimum-sentencing              schemes    and     noting,      among

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other things, that in a recent survey conducted by the

United States Sentencing Commission, 62 % of federal judges

reported that the sentences they were required to impose

were generally too high across-the-board); Judge Mark W.

Bennett, How Mandatory Minimums Forced Me to Send More Than

1,000 Nonviolent Drug Offenders to Federal Prison, THE

NATION,           Nov.         12,        2012,    available             at

http://www.thenation.com/article/170815/how-mandatory-min

imums-forced-me-send-more-1000-nonviolent-drug-offenders-

federal-pri.

    In     addition      to    the   vast   prosecutorial    discretion

afforded     to    the        government,    the   second    contextual

ingredient necessary to understanding this case is the law

of conspiracy--in particular, the scope of conduct for

which participants in conspiracies are held responsible

under the law.           It is a longstanding rule that, in a

criminal conspiracy, “the overt act of one partner in crime

is attributable to all,” so long as, given the nature of

the conspiracy, it was “reasonably foreseeable” that the

co-conspirator’s act would be committed.                  Pinkerton v.

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United States, 328 U.S. 640, 647 (1946).              When that general

principle   is    applied    in   the    case    of   drug-trafficking

conspiracies, the effect is that the defendant is held

responsible (and statutorily subjected to the applicable

mandatory-minimum sentence) for all of the drugs trafficked

by co-conspirators that the defendant knew, or reasonably

should have known, were being distributed.                   See, e.g.,

United States v. Bacon, 598 F.3d 772, 778 (11th Cir. 2010)

(“[W]hen a defendant is convicted of participating in a

drug-trafficking conspiracy under 21 U.S.C. § 846, the

court   must      sentence      the     defendant       based     on      an

individualized finding, supportable by a preponderance of

the evidence, as to the drug quantity foreseeable by that

defendant.”).     So long as the amount of drugs trafficked by

co-conspirators       was    reasonably         foreseeable      to       the

defendant, he is held responsible for that full quantity,

regardless of how small the amount of drugs he actually

distributed was or how otherwise relatively minor his

conduct was compared to the conduct of his co-conspirators.

See, e.g., United States v. Martinez, 987 F.2d 920, 924 (2d

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Cir.    1993)     (“[D]rug   couriers      are   often    charged     with

conspiracy for an entire narcotics operation, even if they

only possessed a small amount.”); United States v. Wynter,

379 F. App'x 841 (11th Cir. 2010) (unpublished) (defendant

held liable for drugs trafficked by co-conspirators years

after defendant’s active involvement in the conspiracy

ended); United States v. Jones, 145 F.3d 959, 966 (8th Cir.

1998) (Bright, J., concurring in part and dissenting in

part) (“In this case, the lowest person on the totem pole,

a mere street-level seller with an I.Q. of fifty-three

received a heavier sentence than the mastermind of the

conspiracy and the conspiracy's primary drug supplier.

What kind of system could produce such a result?               This case

provides yet another example of how ... the mandatory

minimums    associated       with   drug    cases    make    an    unfair

‘criminal’ system.”).

       When these two aspects of the law (the wide scope of

conspiracy liability and the ability of prosecutors to lock

courts     into     particular      mandatory-minimum         sentences)

converge, it is not unusual for the court to find before it

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defendants who considered their conduct relatively minor

and are now shocked at the harsh sentencing options they

face.   Such was the case with Bennett.           While conceding his

complicity in a drug-trafficking conspiracy headed by his

brother-in-law (who Bennett was living with at the time),

Bennett contended that his participation in the conspiracy

was minor.     Although he was aware of his brother-in-law’s

sizeable operations, Bennett himself played no role in

distributing      the    vast     majority      of    drugs     actually

trafficked.     Essentially, he claimed to have done no more

than several errands for his brother-in-law that were in

furtherance of the drug trafficking.              For that, he faced

the Scylla of spending the remaining years of his life as

a young man in prison (and missing the entirety of his

son’s childhood) or the Charybdis of gambling between

complete freedom (hoping for a sympathetic jury) and life

imprisonment.     Meanwhile, he found it difficult to fathom

that the court’s power to alter the potential outcome would

be so constrained, regardless of how unjustifiably harsh

the government’s chosen sentence may be.                 That Bennett,

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navigating these perilous waters, made a decision in this

case from which he later wavered is all too human.

    DONE, this the 14th day of November, 2012.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
